                                                          Case 1:21-cv-00649-BAH Document 7-1 Filed 04/06/21 Page 1 of 2


Case Number     Case Caption                                                          Date Filed          Date Terminated      Case Link
1:2019cv00107   Byron Breeze Jr. v. AC Ocean Walk LLC                                          1/4/2019            3/27/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?390906
1:2019cv00120   Byron Breeze Jr. v. Boardwalk 1000, LLC                                        1/4/2019             4/9/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?390922
1:2019cv00125   Byron Breeze v. Sonia Hospitality Corporation                                  1/4/2019             4/8/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?390926
1:2019cv00176   Byron Breeze Jr. v.Wyndham Hotel Group, LLC                                    1/7/2019            3/18/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391011
1:2019cv00180   Byron Breeze, Jr. v. WRDH Mt. Laurel LLC                                       1/7/2019             3/1/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391019
1:2019cv00183   Byron Breeze v. Flagship Report Development Corporation                        1/7/2019            3/21/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391021
2:2019cv00187   Byron Breeze, Jr. v. Ratan Hospitality Group L.L.C., et al.                    1/7/2019            12/9/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391027
1:2019cv00191   Byron Breeze v. LVC Timeshare Management, LLC                                  1/7/2019            2/13/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391033
1:2019cv00465   Byron Breeze v. Ramada Worldwide, Inc.                                        1/14/2019            3/19/2019   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?391535
2:2019cv14029   Byron Breeze, Jr. v. Eric Richard Company, L.L.C.                             6/20/2019            2/11/2020   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?410078
2:2020cv01163   Byron Breeze v. Riviera Hotel Corp                                             2/3/2020            4/13/2020   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?426800
2:2020cv06837   Byron Breeze, Jr. v. Haiban Inn LLC                                            6/4/2020                        https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?436403
1:2016cv06955   Byron Breeze v. Delissimo Deli Corp., et al.                                   9/6/2016           3/20/2017    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?462358
1:2017cv02723   Byron Breeze, et al. v. ST Management, Inc.                                   4/14/2017           11/9/2017    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?472475
1:2017cv07882   Byron Breeze v. Delissimo Deli Corp., et al.                                 10/13/2017           10/2/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?482150
1:2017cv08018   Byron Breeze v. Dyckman Crestview Realty, LLC, et al.                        10/18/2017           5/30/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?482386
1:2020cv01102   Byron Breeze v. Blue Moon Hotel NYC Inc., et al.                               2/7/2020                        https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?531627
1:2017cv09020   Byron Breeze v. PGGS Gourmet, Inc., et al.                                   11/17/2017           4/27/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?484074
1:2018cv08446   Byron Breeze v. Carvi Properties Inc.                                         9/17/2018           1/17/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?501014
1:2018cv08451   Byron Breeze v. GF Management Realty, LLC                                     9/17/2018           1/31/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?501022
1:2018cv08452   Byron Breeze v. BD Hotels LLC                                                 9/17/2018          10/10/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?501025
1:2017cv09186   Byron Breeze v. 53 West 72nd Street Cafe LLC, et al.                         11/22/2017           4/27/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?484334
1:2017cv09616   Byron Breeze v. Partnership 92 West L.P., et al.                              12/7/2017           3/23/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?485028
1:2018cv00352   Byron Breeze v. Chop't Creative Salad Company LLC                             1/15/2018           6/21/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?486688
1:2018cv01322   Byron Breeze, Jr. v. Mama's Spice, Inc., et al.                               2/14/2018          10/10/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?488523
1:2018cv08141   Byron Breeze v. The Sherry-Netherland, Inc., et al.                            9/6/2018          12/13/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?500486
1:2018cv08915   Byron Breeze v. Elysee Management, Inc.                                       9/28/2018          10/17/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?501839
1:2018cv08918   Byron Breeze v. Silver Autumn Hotel (N.Y.) Corporation Limited                9/28/2018           2/15/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?501842
1:2018cv09064   Byron Breeze v. 401 Hotel Management Company, L.L.C.                          10/3/2018          12/10/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?502103
1:2018cv09097   Byron Breeze v. Metropolitan 58th Street Associates, LLC                      10/4/2018          12/14/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?502168
1:2018cv09811   Byron Breeze v. Chambers Hotel Corporation                                   10/24/2018          11/30/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503389
1:2018cv09814   Byron Breeze v. O. Park Central LLC                                          10/24/2018           1/16/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503392
1:2018cv09816   Byron Breeze v. Lowell Hotel Associates, L.P.                                10/24/2018          12/27/2018    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503396
1:2018cv09817   Byron Breeze v. Da-Vinci Hotel Corp.                                         10/24/2018           1/22/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503399
1:2018cv07841   Byron Breeze, Jr., et al. v. Cosmopolitan Broadcasting Corporation            8/28/2018           2/22/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?499998
1:2019cv00257   Byron Breeze v. Trust Hospitality LLC                                          1/9/2019           6/11/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?508092
1:2019cv00259   Byron Breeze v. Cachet Hotel Americas Corporation                              1/9/2019            6/7/2019    https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?508094


                                                                                     EXHIBIT 1
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1:2019cv01473   Byron Breeze v. HSF New York, Inc.                                           2/15/2019      9/20/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?510234
1:2019cv01474   Byron Breeze v. 24 E 39 LLC                                                  2/15/2019       4/4/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?510235
1:2019cv01476   Byron Breeze v. Beekman Towers Holdings, LLC                                 2/15/2019      6/11/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?510237
1:2019cv02234   Byron Breeze v. SHK Management, Inc.                                         3/12/2019       5/7/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?511698
1:2019cv02235   Byron Breeze v. Hotel Casablanca, Inc.                                       3/12/2019      6/10/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?511703
1:2019cv06079   Byron Breeze v. 1414 Holdings, L.L.C.                                        6/28/2019      8/13/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?518471
1:2019cv06504   Byron Breeze v. Morgans Hotel Group Management LLC                           7/12/2019     10/17/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?519151
1:2019cv06505   Byron Breeze v. 235 Hotel LLC                                                7/12/2019                  https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?519152
1:2020cv00690   Byron Breeze v. 246 Spring Street (NY), LLC                                  1/24/2020      4/14/2020   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?530780
1:2020cv02824   Byron Breeze, Jr. v. Hotel Hive DC L.L.C.                                    10/5/2020      1/25/2021   https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?222743
1:2021cv00723   Byron Breeze, Jr. v. GMG Restaurants L.L.C., et al.                          3/19/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?229040
1:2021cv00725   Byron Breeze, Jr. v. Sushi Hachi Inc., et al.                                3/19/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?229042
1:2020cv02844   Byron Breeze, Jr. v. Henley Park Hotel, Inc.                                 10/6/2020                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?222795
1:2020cv02943   Byron Breeze, Jr. v. Honeybee Hospitality LLC                               10/14/2020     12/23/2020   https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?223014
1:2020cv02994   Byron Breeze, Jr. v. Kazemzadeh, et al.                                     10/19/2020      2/22/2021   https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?223162
1:2021cv00753   Byron Breeze, Jr. v. Kabila Inc., et al.                                     3/22/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?229126
1:2021cv00649   Byron Breeze, Jr. v. 1801 Corporation, et al.                                3/11/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?228641
1:2021cv00692   Byron Breeze, Jr. v. Melben Inc., et al.                                     3/16/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?228850
1:2021cv00693   Byron Breeze, Jr. v. Green Zone, LLC, et al.                                 3/16/2021                  https://ecf.dcd.uscourts.gov//cgi-bin/iqquerymenu.pl?228851
2:2020cv06890   Byron Breeze, Jr. v. Global Serviced Apartments LLC                           6/5/2020      7/22/2020   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?436490
2:2020cv06913   Byron Breeze, Jr. v. Ubliss Info Inc.                                         6/5/2020       3/3/2021   https://ecf.njd.uscourts.gov/cgi-bin/iqquerymenu.pl?436521
1:2020cv00309   Byron Breeze, Jr. v. Ding Fa Realty LLC                                      1/17/2020      11/3/2020   https://ecf.nyed.uscourts.gov/cgi-bin/iqquerymenu.pl?443987
1:2020cv03853   Byron Breeze, Jr. v. John Hotel Inc.                                         8/21/2020     12/28/2020   https://ecf.nyed.uscourts.gov/cgi-bin/iqquerymenu.pl?451928
1:2018cv09413   Byron Breeze, Jr. v. Samson Management LLC, et al.                          10/15/2018     12/19/2018   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?502764
1:2018cv09615   Byron Breeze, Jr. v. Beacon Hotel L.L.C.                                    10/19/2018       4/1/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503103
1:2018cv09622   Byron Breeze, Jr. v. Excelsior Syndicate Inc.                               10/19/2018      2/19/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503113
1:2018cv09627   Byron Breeze, Jr. v. Mark Hotel LLC                                         10/19/2018      1/22/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503122
1:2018cv09635   Byron Breeze, Jr. v. The Carlyle, LLC                                       10/19/2018       3/1/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503139
1:2018cv09676   Byron Breeze, Jr. et al v. Carnegie Hotel LLC                               10/22/2018      1/25/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?503172
1:2019cv01739   Byron Breeze, Jr. v. Healthy Food Enterprises, III, Inc., et al.             2/25/2019     12/16/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?510682
1:2019cv02156   Byron Breeze, Jr. v. Faces & Names, Inc., et al.                              3/8/2019      8/22/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?511536
1:2019cv02236   Byron Breeze, Jr. v. WA Restaurant Inc., et al.                              3/12/2019       5/9/2019   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?511704
1:2020cv04270   Byron Breeze, Jr. v. 3232 Hotel LLC                                           6/4/2020      6/30/2020   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?538128
1:2020cv06803   Byron Breeze, Jr. v. City Club Hotel, LLC                                    8/24/2020     10/28/2020   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?542848
1:2020cv06954   Byron Breeze, Jr. v. H & K Hotel Corp.                                       8/27/2020      1/16/2021   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?543166
1:2020cv07891   Byron Breeze, Jr. v. James Knowles & Company, LLC                            9/24/2020     10/16/2020   https://ecf.nysd.uscourts.gov/cgi-bin/iqquerymenu.pl?544951



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